                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                                                                                                         Main Document    Page 1 of 41



                                                                        1 Daniel A. Lev (CA Bar No. 129622)
                                                                           dlev@sulmeyerlaw.com
                                                                        2 SulmeyerKupetz
                                                                            A Professional Corporation
                                                                        3 333 South Grand Avenue, Suite 3400
                                                                          Los Angeles, California 90071-1406
                                                                        4 Telephone: 213.626.2311
                                                                          Facsimile: 213.629.4520
                                                                        5
                                                                          Attorneys for Victor Franco Noval, Peter Marco, LLC, and First International Diamond,
                                                                        6 Inc.

                                                                        7 Ronald Richards (CA Bar No. 176246)
                                                                           ron@ronaldrichards.com
                                                                        8 Law Offices of Ronald Richards & Associates, APC
                                                                          P.O. Box 11480
                                                                        9 Beverly Hills, California 90213
                                                                          Telephone: 310.556.1001
                                                                       10 Facsimile: 310.277.3325
  A Professional Corporation




                                                                       11 Attorneys for Victor Franco Noval
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 Baruch C. Cohen (CA Bar No. 159455)
                                                                           baruchcohen@baruchcohenesq.com
                                                                       13 Law Office of Baruch C. Cohen, APLC
                                                                          4929 Wilshire Boulevard, Suite 940
                                                                       14 Los Angeles, California 90010
                                                                          Telephone: 323.937.4501
SulmeyerKupetz,




                                                                       15 Facsimile: 888.316.6107

                                                                       16 Attorneys for Peter Marco, LLC and First International Diamond, Inc.

                                                                       17                                  UNITED STATES BANKRUPTCY COURT

                                                                       18                 CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

                                                                       19 In re                                              Case No. 2:20-bk-13530-BR

                                                                       20 JADELLE JEWELRY AND DIAMONDS,                      Chapter 7
                                                                          LLC,
                                                                       21                                                    NOTICE OF MOTION AND MOTION FOR
                                                                                                                             ORDER REQUIRING EXAMINATION
                                                                       22                                                    AND PRODUCTION OF DOCUMENTS
                                                                                              Debtor.                        BY COHEN WILLIAMS LLP PURSUANT
                                                                       23                                                    TO RULE 2004 OF THE FEDERAL
                                                                                                                             RULES OF BANKRUPTCY
                                                                       24                                                    PROCEDURE; MEMORANDUM OF
                                                                                                                             POINTS AND AUTHORITIES;
                                                                       25                                                    DECLARATION OF RONALD
                                                                                                                             RICHARDS IN SUPPORT THEREOF
                                                                       26
                                                                                                                             DATE:
                                                                       27                                                    TIME: [No Hearing Required]
                                                                                                                             PLACE:
                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37     Desc
                                                                                                         Main Document    Page 2 of 41



                                                                        1 TO THE HONORABLE BARRY RUSSELL. UNITED STATES BANKRUPTCY JUDGE,

                                                                        2 THE DEBTOR, COHEN WILLIAMS LLP, AND OTHER INTERESTED PARTIES:

                                                                        3                     PLEASE TAKE NOTICE that, pursuant to this “Notice of Motion and Motion

                                                                        4 for Order Requiring Production of Documents Pursuant to Rule 2004 of the Federal Rules

                                                                        5 of Bankruptcy Procedure; Memorandum of Points and Authorities; Declaration of Ronald

                                                                        6 Richards in Support Thereof” (the “Motion”), creditors, Victor Franco Noval (“Noval”),

                                                                        7 Peter Marco, LLC (“Marco”), and First International Diamond, Inc. (“First International”

                                                                        8 and together with Noval and Marco, the “Creditors”), respectfully request, pursuant to

                                                                        9 Rule 2004 of the Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rule

                                                                       10 2004-1, an order directing Cohen Williams LLP (“Cohen Williams”) to produce the
  A Professional Corporation




                                                                       11 documents identified in Exhibit “A” attached hereto (the “Requested Documents”) by no
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 later than August 24, 2020, and that the person most knowledgeable appear for

                                                                       13 examination, under oath, and that such examination take place on August 27, 2020, at

                                                                       14 10:00 a.m., at SulmeyerKupetz, A Professional Corporation, 333 South Grand Avenue,
SulmeyerKupetz,




                                                                       15 Suite 3400, Los Angeles, California 90071, unless Creditors, in their sole discretion,

                                                                       16 designate another means of electronic examination.

                                                                       17                     PLEASE TAKE FURTHER NOTICE that this Motion is brought in

                                                                       18 accordance with Rule 2004 of the Federal Rules of Bankruptcy Procedure and Local

                                                                       19 Bankruptcy Rule 2004-1, and is made on the grounds that the examination is necessary

                                                                       20 for Creditors to ascertain and discover assets of the estate in light of the fact that no

                                                                       21 adversary proceeding is pending in which Cohen Williams is a party. Due to the limited

                                                                       22 scope of this Motion, Creditors anticipate that further document production(s) and

                                                                       23 examination(s) may be necessary.

                                                                       24                     PLEASE TAKE FURTHER NOTICE that this Motion is based on the

                                                                       25 attached memorandum of points and authorities, the attached exhibits, and the file in this

                                                                       26 case, of which the Court is requested to take judicial notice.

                                                                       27                     PLEASE TAKE FURTHER NOTICE that, unless otherwise ordered by the

                                                                       28 Court, this Motion will be ruled on without a hearing pursuant to Local Bankruptcy Rule


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)              2
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                     Desc
                                                                                                         Main Document    Page 3 of 41



                                                                        1 9013-1(p).

                                                                        2                      PLEASE TAKE FURTHER NOTICE that, since Cohen Williams is not the

                                                                        3 debtor, Creditors also are issuing a subpoena pursuant to Rule 9016 of the Federal Rules

                                                                        4 of Bankruptcy Procedure and Rule 45 of the Federal Rules of Civil Procedure, which will

                                                                        5 be served after the order granting the Motion is entered. A true and correct copy of the

                                                                        6 proposed subpoena is attached hereto as Exhibit “C”.

                                                                        7                      PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy

                                                                        8 Rule 2004-1(f), the party whose examination is requested may file a motion for protective

                                                                        9 order if grounds exist under Rule 7026 of the Federal Rules of Bankruptcy Procedure and

                                                                       10 Rule 26(c) of the Federal Rules of Civil Procedure. A motion for protective order must be
  A Professional Corporation




                                                                       11 filed and served not less than fourteen (14) days before the date of the examination, and
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 set for hearing not less than two (2) days before the scheduled examination, unless an

                                                                       13 order setting hearing on shortened notice is granted by the court pursuant to Local

                                                                       14 Bankruptcy Rule 9075-1. The parties may stipulate, or the court may order, that the
SulmeyerKupetz,




                                                                       15 examination be postponed so that the motion for protective order can be heard on regular

                                                                       16 notice under Local Bankruptcy Rule 9013-1.

                                                                       17                      WHEREFORE, Creditors respectfully request that the Court enter an order:

                                                                       18                      1.      granting the Motion;

                                                                       19                      2.      directing Cohen Williams to produce the documents identified in

                                                                       20 Exhibit “A”, at SulmeyerKupetz, A Professional Corporation, located at 333 South Grand

                                                                       21 Avenue, Suite 3400, Los Angeles, California 90071, by no later than 5:00 p.m. on August

                                                                       22 24, 20201;

                                                                       23                      3.      directing the person most knowledgeable at Cohen Williams appear

                                                                       24 for examination, under oath, on August 27, 2020, at 10:00 a.m., at SulmeyerKupetz, A

                                                                       25

                                                                       26
                                                                            1
                                                                                In light of anticipated continuation of office closures related to the COVID-19 pandemic, Creditors request
                                                                       27 that the documents be produced electronically by email to dlev@sulmeyerlaw.com,
                                                                            ronald@ronaldrichards.com, and baruchcohen@baruchcohenesq.com.
                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                      3
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37           Desc
                                                                                                         Main Document    Page 4 of 41



                                                                        1 Professional Corporation, 333 South Grand Avenue, Suite 3400, Los Angeles, California

                                                                        2 90071, unless Creditors, in their sole discretion, designate another means of electronic

                                                                        3 examination;

                                                                        4                     4.       retaining jurisdiction to consider any additional request for

                                                                        5 information and documents on appropriate notice; and

                                                                        6                     5.       granting such other and further relief as this Court deems just and

                                                                        7 proper under the circumstances.

                                                                        8 DATED: July 23, 2020                           SulmeyerKupetz
                                                                                                                         A Professional Corporation
                                                                        9

                                                                       10
  A Professional Corporation




                                                                       11                                                By: /s/ Daniel A. Lev         _________________
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                             Daniel A. Lev
                                                                       12                                                    Attorneys for Victor Franco Noval, Peter
                                                                                                                             Marco, LLC, and First International Diamond,
                                                                       13                                                    Inc.
                                                                       14 DATED: July 23, 2020                           Law Offices of Ronald Richards & Associates, APC
SulmeyerKupetz,




                                                                       15

                                                                       16
                                                                                                                         By: /s/ Ronald Richards       _________________
                                                                       17                                                    Ronald Richards
                                                                                                                             Attorneys for Victor Franco Noval
                                                                       18

                                                                       19 DATED: July 23, 2020                           Law Office of Baruch C. Cohen, APLC

                                                                       20

                                                                       21
                                                                                                                         By: /s/ Baruch C. Cohen
                                                                       22                                                    Baruch C. Cohen
                                                                                                                             Attorneys for Peter Marco, LLC and First
                                                                       23                                                    International Diamond, Inc.

                                                                       24

                                                                       25

                                                                       26

                                                                       27

                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                  4
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37        Desc
                                                                                                         Main Document    Page 5 of 41



                                                                        1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                        2                                                    I.

                                                                        3                                            BACKGROUND

                                                                        4                     In order to uncover the whereabout of potential assets of the estate, and

                                                                        5 determining whether any assets were preferentially or fraudulently transferred, Creditors

                                                                        6 seek to take the examination of Cohen Williams LLP, one in a series of law firm retained

                                                                        7 by the debtor Jadelle Jewelry and Diamonds, LLC and its two controlling insiders, Jona

                                                                        8 and Rachel Rechnitz. Because the Motion will uncover potential recipients of fraudulently

                                                                        9 transferred monies, and will aid the Trustee in fulfilling his fiduciary duties to creditors by

                                                                       10 enabling him to access key financial information relative to the Debtor’s business
  A Professional Corporation




                                                                       11 operations and potential avoidance actions, the Motion must be granted.
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12                                                    II.

                                                                       13                                        RELEVANT BACKGROUND

                                                                       14                     As this Court must now realize, Jadelle Jewelry and Diamonds, LLC (the
SulmeyerKupetz,




                                                                       15 “Debtor”) is, in essence, a criminal enterprise being used as a front by a convicted felon

                                                                       16 and his wife to defraud legitimate creditors out of millions of dollars of cash and precious

                                                                       17 gems. Both Jona and Rachel Rechnitz (“Jona,” “Rachel,” or the “Rechnitz’s”) advertised

                                                                       18 political and powerful celebrity connections to create a false sense of credibility about

                                                                       19 themselves and their business, posting photos on their social media of Kylie Jenner and

                                                                       20 Kim Kardashian, among others. However, once the veil was lifted, it became apparent

                                                                       21 that the Debtor was nothing more than a sham entity for Jona to run his fraudulent

                                                                       22 enterprise, even following being sentenced after pleading guilty to numerous fraud and

                                                                       23 bribery related charges.

                                                                       24                     After violating numerous court orders, the Court entered an order for relief

                                                                       25 against the Debtor. Sam S. Leslie (the “Trustee”) was then appointed chapter 7 trustee

                                                                       26 of the Debtor’s estate, and he continues to serve in that capacity. The Trustee is in the

                                                                       27 beginning phases of his administration of the estate, however, Creditors are concerned

                                                                       28 that the passage of time will permit the Debtor, the Rechnitz’s, and others, to destroy


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)               5
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37       Desc
                                                                                                         Main Document    Page 6 of 41



                                                                        1 valuable evidence and embark upon actions meant to place assets beyond the Trustee’s

                                                                        2 reach.

                                                                        3                     Among the possible assets to be recovered are the ill-gotten gains of the

                                                                        4 Debtor and the Rechnitz’s fraud, which monies Creditors believe may have been used to

                                                                        5 pay their legion of lawyers. As noted, Cohen Williams LLP (“Cohen Williams”) is one of

                                                                        6 the many law firms used by the Rechnitz’s, as well as the Debtor, to defend themselves

                                                                        7 from civil and criminal proceedings. In order to determine if funds from the Debtor, which

                                                                        8 were fraudulently procured from Creditors and other victims, were themselves

                                                                        9 fraudulently used to pay the fees of Cohen Williams (and other law firms) it is necessary

                                                                       10 for Cohen Williams to produce key financial documents and be subject to testimony
  A Professional Corporation




                                                                       11 under oath.
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12                                                   III.
                                                                       13    THE COURT SHOULD ORDER COHEN WILLIAMS TO PRODUCE THE REQUESTED
                                                                       14    DOCUMENTS AND ATTEND AN ORAL EXAMINATION PURSUANT TO RULE 2004
SulmeyerKupetz,




                                                                       15                    OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
                                                                       16                     Rule 2004 provides that “[o]n motion of any party in interest, the court may
                                                                       17 order the examination of any entity.” Fed. R. Bank. P. 2004(a). The scope of the

                                                                       18 examination may relate to “the acts, conduct, or property or to the liabilities and financial

                                                                       19 condition of the debtor, or to any matter which may affect the administration of the

                                                                       20 debtor’s estate, or to the debtor’s right to a discharge,” as well as matters regarding “the

                                                                       21 operation of the Debtor’s business, the source of any money acquired or to be acquired

                                                                       22 by the Debtor for purposes of consummating a plan and the consideration give or offered

                                                                       23 therefor, and other matters relevant to the case and the formulation of a plan.” Fed. R.

                                                                       24 Bank. P. 2004(b). Thus, the purpose of the examination is to “view the condition and

                                                                       25 whereabouts of the bankrupt’s estate.” Keene Corp. v. Johns-Manville Corp. (In re

                                                                       26 Johns-Manville), 42 B.R. 362, 364 (Bankr. S.D.N.Y. 1984). Furthermore, Rule 2004 also

                                                                       27 provides for an order requiring the production of documents in connection with the Rule

                                                                       28 2004 examination. Fed. R. Bank. P. 2004(c).


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)               6
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37      Desc
                                                                                                         Main Document    Page 7 of 41



                                                                        1                     Courts routinely permit a wide range of inquiry pursuant to Rule 2004. See

                                                                        2 In re Drexel Burnham Lambert Group, Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y. 1991)

                                                                        3 (scope of a Rule 2004 examination is very broad, broader even than discovery under the

                                                                        4 Federal Rules of Civil Procedure); In re Table Talk, Inc., 51 B.R. 143, 145 (Bankr. D.

                                                                        5 Mass. 1985) (courts uniformly recognize that the scope of a Rule 2004 examination is

                                                                        6 “unfettered and broad”); In re Mittco, Inc., 44 B.R. 35, 36 (Bankr. E.D. Wis. 1984) (“The

                                                                        7 scope of inquiry under Bankruptcy Rule 2004 is very broad. Great latitude of inquiry is

                                                                        8 ordinarily permitted.”). As the bankruptcy court explained in In re Mantolesky, 14 B.R.

                                                                        9 973 (Bankr. D. Mass. 1981):

                                                                       10                     Rule 205 [now Rule 2004] provides all interested parties a
  A Professional Corporation




                                                                       11                     mechanism for the investigation and reconstruction of the
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12                     debtor’s affairs. That mechanism may cut a broad swath

                                                                       13                     through the debtor’s affairs, those associated with him, and

                                                                       14                     those who might have had business dealings with him.
SulmeyerKupetz,




                                                                       15                     Further, those persons who might have been closely

                                                                       16                     connected with the debtor in his business arrangements, or

                                                                       17                     who even participated in them, will most likely be exposed to

                                                                       18                     the most extensive inquiry.

                                                                       19 Id., at 976.

                                                                       20                     In short, under the broad scope of Rule 2004(b), an examination of the

                                                                       21 debtor, or third parties with relevant information regarding assets of the estate, is

                                                                       22 inquisitorial in nature, and consequently the field of inquiry is wide. Within the limitations

                                                                       23 prescribed, any question is permissible which seeks to ascertain facts concerning the

                                                                       24 debtor’s conduct, property, and financial affairs. An examination pursuant to Rule 2004

                                                                       25 may therefore “cut a broad swath through the debtor’s affairs.” Johns-Manville, 42 B.R.

                                                                       26 at 364.

                                                                       27                     Relative to this case, Creditors are seeking documents from Cohen

                                                                       28 Williams regarding the source of any funds used to pay the services rendered to, or


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)               7
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                    Desc
                                                                                                         Main Document    Page 8 of 41



                                                                        1 expenses incurred on behalf of, Jona, Rachel, the Debtor, or any other third party related

                                                                        2 to the Rechnitz’s, including Jona’s father, Robert Rechnitz, and his uncle, Shlomo

                                                                        3 Yehuda Rechnitz. Creditors seek to discover the identity of the sources of payment

                                                                        4 made to Cohen Williams to determine whether the funds can be traced to the Debtor, or

                                                                        5 were funds fraudulently procured from Creditors and other victims of the Rechnitz’s and

                                                                        6 the Debtor’s fraud.

                                                                        7                     Since the requested document production cannot proceed under Rules

                                                                        8 7034 or 9014 of the Federal Rules of Bankruptcy Procedure - since no adversary

                                                                        9 proceeding or contested matter has been commenced with respect to the specific issues

                                                                       10 and transactions Creditors wish to investigate through these requests - the requested
  A Professional Corporation




                                                                       11 document production and examination is appropriate under Rule 2004.2
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12                                                         IV.
                                                                       13                  PLACE OF RESIDENCE AND/OR EMPLOYMENT OF EXAMINEE
                                                                       14                     Creditors are informed that Cohen Williams’ principal business address is
SulmeyerKupetz,




                                                                       15 724 S. Spring Street, Ninth Floor, Los Angeles, California 90014. (This information is

                                                                       16 being provided pursuant to Local Bankruptcy Rule 2004-1).

                                                                       17                                                          V.
                                                                       18                                              MEET AND CONFER
                                                                       19                     In accordance with Local Bankruptcy Rule 2004-1(a), prior to filing the

                                                                       20 Motion, Creditors conferred with Cohen Williams several times regarding the nature and

                                                                       21 scope of the requested document production and examination. However, Cohen

                                                                       22 Williams refused to consent to the requested Rule 2004 production and examination

                                                                       23 without Creditors first agreeing to stipulate to the terms of a protective order. Creditors

                                                                       24

                                                                       25
                                                                            2
                                                                                To the extent that certain of the Requested Documents may be subject to the attorney-client privilege,
                                                                       26 which the Trustee disputes as he is the owner of the privilege, the assertion of such privilege may be made
                                                                            by the Debtor. However, the Trustee asserts that the assertion of such privilege would be baseless and in
                                                                       27 contravention of the duties imposed on the Debtor by applicable provisions of the Bankruptcy Code to
                                                                            provide information and cooperate with the Trustee.
                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                     8
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37    Desc
                                                                                                         Main Document    Page 9 of 41



                                                                        1 refuse to accede to Cohen William’s demand, and believe such a request is inappropriate

                                                                        2 based on the nature of the demand. See declaration of Ronald Richards, affixed hereto.

                                                                        3                                                   VI.

                                                                        4                                             CONCLUSION

                                                                        5                     The requested production of documents and oral examination are central to

                                                                        6 Creditors’ independent investigation into the Debtor’s assets and liabilities which will

                                                                        7 assist Creditors, as well as the Trustee, in administering the estate. Accordingly,

                                                                        8 Creditors respectfully request that the Court order Cohen Williams to produce documents

                                                                        9 responsive to the requests in Exhibit “A” on or before August 24 2020. In light of

                                                                       10 anticipated continuation of office closures related to the COVID-19 pandemic, Creditors
  A Professional Corporation




                                                                       11 request that the documents be produced electronically by email to
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 dlev@sulmeyerlaw.com, ronald@ronaldrichards.com, and

                                                                       13 baruchcohen@baruchcohenesq.com. Due to the limited scope of the Motion, Creditors

                                                                       14 anticipate that further document production(s) could be necessary and Creditors,
SulmeyerKupetz,




                                                                       15 therefore, reserve the right to serve additional document requests. In addition, Creditors

                                                                       16 request that the Court order the person most knowledgeable at Cohen Williams to appear

                                                                       17 for examination, under oath, on August 27, 2020, at 10:00 a.m., at SulmeyerKupetz, A

                                                                       18 Professional Corporation, 333 South Grand Avenue, Suite 3400, Los Angeles, California

                                                                       19 90071, unless Creditors, in their sole discretion, designate another means of electronic

                                                                       20 examination.

                                                                       21 DATED: July 23, 2020                        SulmeyerKupetz
                                                                                                                      A Professional Corporation
                                                                       22

                                                                       23

                                                                       24                                             By: /s/ Daniel A. Lev         _________________
                                                                                                                          Daniel A. Lev
                                                                       25                                                 Attorneys for Victor Franco Noval, Peter
                                                                                                                          Marco, LLC, and First International Diamond,
                                                                       26                                                 Inc.
                                                                       27

                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)               9
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37     Desc
                                                                                                        Main Document     Page 10 of 41



                                                                        1 DATED: July 23, 2020                        Law Offices of Ronald Richards & Associates, APC

                                                                        2

                                                                        3
                                                                                                                      By: /s/ Ronald Richards       _________________
                                                                        4                                                 Ronald Richards
                                                                                                                          Attorneys for Victor Franco Noval
                                                                        5
                                                                            DATED: July 23, 2020                      Law Office of Baruch C. Cohen, APLC
                                                                        6

                                                                        7

                                                                        8                                             By: /s/ Baruch C. Cohen
                                                                                                                          Baruch C. Cohen
                                                                        9                                                 Attorneys for Peter Marco, LLC and First
                                                                                                                          International Diamond, Inc.
                                                                       10
  A Professional Corporation




                                                                       11
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12

                                                                       13

                                                                       14
SulmeyerKupetz,




                                                                       15

                                                                       16

                                                                       17

                                                                       18

                                                                       19

                                                                       20

                                                                       21

                                                                       22

                                                                       23

                                                                       24

                                                                       25

                                                                       26

                                                                       27

                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)             10
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37          Desc
                                                                                                        Main Document     Page 11 of 41



                                                                        1                                  DECLARATION OF RONALD RICHARDS

                                                                        2                     I, Ronald Richards, declare:

                                                                        3                     1.       I am an individual over the age of eighteen, a principal of Law Offices

                                                                        4 of Ronald Richards & Associates, APC, and am duly admitted to practice before this

                                                                        5 Court. I am one of the attorneys principally responsible for the representation of Victor

                                                                        6 Franco Noval (“Noval”) in this case. I have personal knowledge of the facts set forth

                                                                        7 below, and if called as a witness, could and would competently testify thereto under oath.

                                                                        8                     2.       I make this declaration in support of the motion seeking the

                                                                        9 production of documents from and an examination of Cohen Williams LLP (“Cohen

                                                                       10 Williams”) pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure.
  A Professional Corporation




                                                                       11                     3.       In accordance with Local Bankruptcy Rule 2004-1(a), prior to filing
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 the Motion, I attempted to confer with Cohen Williams several times regarding the scope

                                                                       13 and nature of the proposed Rule 2004 production of documents and examination. On

                                                                       14 both July 6 and 8, 2020, I received emails from Marc Williams where he stated that
SulmeyerKupetz,




                                                                       15 Cohen Williams would only agree to produce certain requested documents if Creditors

                                                                       16 agreed to a protective order, which he supplied to me on July 8, 2020. I thereafter

                                                                       17 advised Mr. Williams that the proposed pre-conditions were unacceptable to Creditors.

                                                                       18 True and correct copies of the July 6 and 8, 2020, emails are attached hereto as Exhibit

                                                                       19 “B” and incorporated herein by reference.

                                                                       20                     I declare under penalty of perjury under the laws of the United States of

                                                                       21 America that the foregoing is true and correct.

                                                                       22                     Executed this 23rd day of July, 2020, at Los Angeles, California.

                                                                       23

                                                                       24                                                    /s/ Ronald Richards
                                                                                                                             Ronald Richards
                                                                       25

                                                                       26

                                                                       27

                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                11
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 12 of 41




                               EXHIBIT A
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37           Desc
                                                                                                        Main Document     Page 13 of 41



                                                                        1                                                   EXHIBIT A

                                                                        2                                                 INSTRUCTIONS

                                                                        3                     1.       You are instructed to produce the Requested Documents (as defined

                                                                        4 and described below) that are in your possession, custody or control, including, but not

                                                                        5 limited to, Requested Documents in the possession of your attorneys, accountants,

                                                                        6 bookkeepers, agents, and/or representatives. You are further instructed to produce the

                                                                        7 Requested Documents as they are kept in the usual course of business. In addition,

                                                                        8 Requested Documents are to be produced in their entirety; redacted Requested

                                                                        9 Documents will not constitute compliance with this request.

                                                                       10                     2.       If you contend that the contents of a Requested Document are
  A Professional Corporation




                                                                       11 protected from disclosure because of privilege or the work-product doctrine, you must
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 supply a description of that Requested Document by providing the following information:

                                                                       13                              A.        Each privilege or doctrine which you contend protects the

                                                                       14 contents of that Requested Document from disclosure;
SulmeyerKupetz,




                                                                       15                              B.        Each fact upon which you rely to support your claim of

                                                                       16 privilege;

                                                                       17                              C.        The type of Requested Document (e.g., letter, memorandum,

                                                                       18 telegram, facsimile transmission, e-mail, computer database, notes, memorandum of

                                                                       19 telephone conversation, etc.);

                                                                       20                              D.        The date of the Requested Document or if it bears no date,

                                                                       21 the date on which it was prepared;

                                                                       22                              E.        The name of each author of the Requested Document;

                                                                       23                              F.        The name of each person to whom the Requested Document

                                                                       24 was directed;

                                                                       25                              G.        The name of each person who received or reviewed the

                                                                       26 Requested Document or to whom the Requested Document or a copy of it was supplied;

                                                                       27 and

                                                                       28                              H.        The general subject matter of the Requested Document.


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                   12
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37           Desc
                                                                                                        Main Document     Page 14 of 41



                                                                        1                     3.       In the event that any Requested Document described below has

                                                                        2 been destroyed, discarded, or otherwise disposed of (a “Disposal”), each such

                                                                        3 Requested Document is to be identified as completely as possible, including, without

                                                                        4 limitation, the following information:

                                                                        5                              A.        The type of Requested Document (e.g., letter, memorandum,

                                                                        6 telegram, facsimile transmission, e-mail, computer database, notes, memorandum of

                                                                        7 telephone conversation, etc.);

                                                                        8                              B.        The date of the Requested Document or, if it bears no date,

                                                                        9 the date on which it was prepared;

                                                                       10                              C.        The name of each author of the Requested Document;
  A Professional Corporation




                                                                       11                              D.        The name of each person to whom the Requested Document
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 was directed;

                                                                       13                              E.        The name of each person who received or reviewed the

                                                                       14 Requested Document or to whom the Requested Document or a copy thereof was
SulmeyerKupetz,




                                                                       15 supplied;

                                                                       16                              F.        The general subject matter of the Requested Document;

                                                                       17                              G.        The date of Disposal;

                                                                       18                              H.        The manner of Disposal;

                                                                       19                              I.        The reasons for the Disposal;

                                                                       20                              J.        The name of the person who authorized the Disposal;

                                                                       21                              K.        The name of the person who disposed of the Requested

                                                                       22 Document;

                                                                       23                              L.        The name of the custodian of the Requested Document at the

                                                                       24 time of the Disposal.

                                                                       25                     4.       These requests are not limited as to time period unless so stated.

                                                                       26                                                  DEFINITIONS

                                                                       27                     The following definitions apply herein:

                                                                       28                     A.       The term “Case” shall mean that bankruptcy case styled In re Jadelle


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                   13
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37          Desc
                                                                                                        Main Document     Page 15 of 41



                                                                        1 Jewelry and Diamonds, LLC, presently pending in the United States Bankruptcy Court,

                                                                        2 Central District of California, Los Angeles Division, bearing Case No. 2:20-bk-13530-BR,

                                                                        3 commenced on April 6, 2020.

                                                                        4                     B.       The term “Claim” shall have the meaning ascribed to it in 11 U.S.C. §

                                                                        5 101(5).

                                                                        6                     C.       The term “Cohen Williams” shall mean Cohen Williams LLP.

                                                                        7                     D.       The term “Creditor” shall have the meaning ascribed to it in 11

                                                                        8 U.S.C. § 101(10).

                                                                        9                     E        The term “Communications” shall mean any transmission of

                                                                       10 information from one person or entity to another by mail, facsimile, electronic mail, text
  A Professional Corporation




                                                                       11 message, instant messaging, audio recordings, journals, diaries, logs, or calendars,
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 including (without limitation) any form of memorialization of personal meetings,

                                                                       13 conferences, telephone conversations, radio, electronic mail, teleconference, etc.

                                                                       14                     F.       The term “Debt” shall have the meaning ascribed to it in 11 U.S.C. §
SulmeyerKupetz,




                                                                       15 101(12).

                                                                       16                     G.       The term “Involuntary Petition” shall mean that certain involuntary

                                                                       17 chapter 7 petition styled In re Jadelle Jewelry and Diamonds, LLC, presently pending in

                                                                       18 the United States Bankruptcy Court, Central District of California, Los Angeles Division,

                                                                       19 bearing Case No. 2:20-bk-13530-BR.

                                                                       20                     H.       The term “Jadelle” shall mean Jadelle Jewelry and Diamonds, LLC,

                                                                       21 and any of its respective officers, directors, employees, affiliates, parents, subsidiaries,

                                                                       22 representatives, agents, attorneys, and all other persons acting or purporting to act on its

                                                                       23 behalf, including Jona Rechnitz and Rachel Rechnitz.

                                                                       24                     I.       The term “Jona” shall mean Jona Rechnitz, and his representatives,

                                                                       25 agents, attorneys, and all other persons acting or purporting to act on his behalf.

                                                                       26                     J.       The term “Petition Date” shall mean April 6, 2020, the date the

                                                                       27 Involuntary Petition was filed.

                                                                       28                     K.       The term “Rachel” shall mean Rachel Rechnitz, and her


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                14
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37            Desc
                                                                                                        Main Document     Page 16 of 41



                                                                        1 representatives, agents, attorneys, and all other persons acting or purporting to act on

                                                                        2 her behalf.

                                                                        3                     L.       The terms “and” or “or” or “and/or” shall be construed either

                                                                        4 disjunctively or conjunctively or both, as necessary, to bring within the scope of any

                                                                        5 request for responses which might otherwise be construed to be outside the scope.

                                                                        6                     M.       The term “Contact Information” shall mean information upon which a

                                                                        7 person or entity may be reached via mail, telephone, facsimile, e-mail or in person or any

                                                                        8 other medium that is reasonable, and shall include without limitation, present and last

                                                                        9 known address(es), phone number(s), facsimile number(s), and e- mail address(es).

                                                                       10                     N.       The terms “Document” or “Documents” shall mean and includes any
  A Professional Corporation




                                                                       11 medium, including without limitation, writings, drawings, graphs, charts, photographs,
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 audio and video recordings, computerized records, such as e-mails, microfilm,

                                                                       13 microfiche, data compilations, upon which intelligence or information can be recorded,

                                                                       14 maintained or retrieved, including without limitation, the original or a copy thereof,
SulmeyerKupetz,




                                                                       15 regardless of the origin and location, of any writing or recording of any type or

                                                                       16 description, however produced or reproduced, which is in your or your representatives’

                                                                       17 possession, custody or control, or to which you have or had access, or of which you have

                                                                       18 knowledge or which you have a right or privilege to examine upon request or demand,

                                                                       19 and includes any and all writings and recordings as the term is used in Rule 1001(1) of

                                                                       20 the Federal Rules of Evidence and includes the original (or a copy if the original is not

                                                                       21 available) and any nonidentical copies (whether different from the original because of

                                                                       22 notes made on the copy or otherwise).

                                                                       23                     O.       The terms “relate to”, “refer to”, “evidence”, “concern”, “pertain to”

                                                                       24 and “pertaining to” shall mean mentioning, discussing, including, summarizing,

                                                                       25 describing, reflecting, containing, referring to, relating to, depicting, connected with,

                                                                       26 embodying, evidencing, constituting, concerning, reporting, purporting or involving an act,

                                                                       27 occurrence, event, transaction, fact, thing, or course of dealing.

                                                                       28                     P.       The term “you” or “your” shall mean and includes Cohen Williams.


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                 15
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37        Desc
                                                                                                        Main Document     Page 17 of 41



                                                                        1 The term “Cohen Williams” shall be used interchangeably with the terms “you” or “your”.

                                                                        2                     Q.       The singular form of a word should be interpreted as plural and the

                                                                        3 plural should be interpreted as singular to give the word or words the broadest possible

                                                                        4 meaning.

                                                                        5                     R.       The masculine gender of any word shall be construed to include the

                                                                        6 masculine, feminine, and neuter gender.

                                                                        7                                        REQUESTED DOCUMENTS

                                                                        8                     1.       All Documents regarding any payments made to Cohen Williams by

                                                                        9 Jona Rechnitz on account of attorneys’ fees rendered to or expenses incurred on behalf

                                                                       10 of Jona, Rachel, and/or Jadelle, whether prior to or after the Petition Date.
  A Professional Corporation




                                                                       11                     2.       All Documents regarding any payments made to Cohen Williams by
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 Rachel Rechnitz on account of attorneys’ fees rendered to or expenses incurred on

                                                                       13 behalf of Jona, Rachel, and/or Jadelle, whether prior to or after the Petition Date.

                                                                       14                     3.       All Documents regarding any payments made to Cohen Williams by
SulmeyerKupetz,




                                                                       15 Jadelle on account of attorneys’ fees rendered to or expenses incurred on behalf of Jona,

                                                                       16 Rachel, and/or Jadelle, whether prior to or after the Petition Date.

                                                                       17                     4.       All Documents regarding any payments made to Cohen Williams by

                                                                       18 any third party on account of attorneys’ fees rendered to or expenses incurred on behalf

                                                                       19 of Jona, Rachel, and/or Jadelle, whether prior to or after the Petition Date.

                                                                       20                     5.       All Documents regarding any payments made to Cohen Williams by

                                                                       21 any third party on account of attorneys’ fees rendered to or expenses incurred on behalf

                                                                       22 of Robert Rechnitz or Shlomo Yehuda Rechnitz, whether prior to or after the Petition

                                                                       23 Date.

                                                                       24                     6.       All Documents regarding any third party payor agreements on

                                                                       25 account of services rendered to or expenses incurred on behalf of Jona, Rachel, and/or

                                                                       26 Jadelle, whether prior to or after the Petition Date.

                                                                       27                     7.       All Documents regarding any third party payor agreements on

                                                                       28 account of services rendered to or expenses incurred on behalf of Robert Rechnitz or


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                16
                                                                      Case 2:20-bk-13530-BR             Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37         Desc
                                                                                                        Main Document     Page 18 of 41



                                                                        1 Shlomo Yehuda Rechnitz, whether prior to or after the Petition Date.

                                                                        2                     8.       All Documents regarding the identity of any third party payor on

                                                                        3 account of services rendered to or expenses incurred on behalf of Jona, Rachel, and/or

                                                                        4 Jadelle, whether prior to or after the Petition Date.

                                                                        5                     9.       All Documents regarding the identity of any third party payor on

                                                                        6 account of services rendered to or expenses incurred on behalf of Robert Rechnitz or

                                                                        7 Shlomo Yehuda Rechnitz, whether prior to or after the Petition Date.

                                                                        8                     10.      All Documents regarding the retention agreement by and between

                                                                        9 Cohen Williams and Jona, whether prior to or after the Petition Date.

                                                                       10                     11.      All Documents regarding the retention agreement by and between
  A Professional Corporation




                                                                       11 Cohen Williams and Rachel, whether prior to or after the Petition Date.
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12                     12.      All Documents regarding the retention agreement by and between

                                                                       13 Cohen Williams and Jadelle, whether prior to or after the Petition Date.

                                                                       14                     13.      Any Communications between Cohen Williams and any third party
SulmeyerKupetz,




                                                                       15 payor on account of the payment of services rendered to or expenses incurred on behalf

                                                                       16 of Jona, Rachel, and/or Jadelle, whether prior to or after the Petition Date.

                                                                       17                     14.      Any Communications between Cohen Williams and any third party

                                                                       18 payor on account of the payment for services rendered to or expenses incurred on behalf

                                                                       19 of Robert Rechnitz or Shlomo Yehuda Rechnitz, whether prior to or after the Petition

                                                                       20 Date.

                                                                       21

                                                                       22

                                                                       23

                                                                       24

                                                                       25

                                                                       26

                                                                       27

                                                                       28


                                                                            DAL 2703974v1 7/23/2020 (11:06 AM)                17
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 19 of 41




                               EXHIBIT B
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 20 of 41




                                                                           018
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 21 of 41




                                                                           019
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 22 of 41




                                                                           020
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 23 of 41




                                                                           021
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 24 of 41




                                                                           022
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 25 of 41




                                                                           023
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 26 of 41




                                                                           024
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 27 of 41




                                                                           025
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 28 of 41




                                                                           026
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 29 of 41




                                                                           027
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 30 of 41




                               EXHIBIT C
             Case 2:20-bk-13530-BR                     Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                                     Desc
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                       Main Document     Page 31 of 41
                                       UNITED STATES BANKRUPTCY COURT
Central                                                                     District of California
In re JADELLE JEWELRY AND DIAMONDS, LLC,
                                     Alleged Debtor
                                                                                     Case No. 2:20-bk-13530-BR
          (Complete if issued in an adversary proceeding)
                                                                                     Chapter 7
                                    Plaintiff
                                       v.


                                   Defendants

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
 To: Cohen Williams LLP
                                                           (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:
  PLACE                                                                                                        DATE AND TIME
  SulmeyerKupetz, A Professional Corporation                                                                   August 27, 2020 at 10:00 a.m.
  333 South Grand Avenue, Suite 3400
  Los Angeles, CA 90071
  The deposition will be recorded by this method: Stenography and/or video
      Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
  See Exhibit “A”
          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
 Date:
                                    CLERK OF COURT
                                                                                       OR

                                    Signature of Clerk or Deputy Clerk        Attorney’s signature
                                                                         Daniel A. Lev
  The name, address, email address, and telephone number of the attorney representing (name of party) petitioning creditors
  Victor Franco Noval, Peter Marco, LLC, and First International Diamond, Inc., who issues or requests this subpoena, are:
  Daniel A. Lev, 333 South Grand Avenue, Suite 3400, Los Angeles, California 90071, email: dlev@sulmeyerlaw.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                                     American LegalNet, Inc.
                                                                                                                                     www.FormsWorkFlow.com
DAL 2704141v1
                                                                                                                                               028
            Case 2:20-bk-13530-BR                     Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                                          Desc
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)
                                                      Main Document     Page 32 of 41

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): Cohen Williams, LLP c/o Marc Williams, Esq.
on (date)                   .

  I served the subpoena by delivering a copy to the named person as follows: Marc Williams, Esq., Cohen Williams LLP,
724 S. Spring Street, Ninth Floor, Los Angeles, California 90014
                                                       on (date)                                    ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                                      .

My fees are $                      for travel and $                   for services, for a total of $                     .



          I declare under penalty of perjury that this information is true and correct.

Date:

                                                                                                                  Server’s signature


                                                                                                                Printed name and title



                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:




                                                                                                                                         American LegalNet, Inc.
                                                                                                                                         www.FormsWorkFlow.com
DAL 2704141v1
                                                                                                                                                  029
            Case 2:20-bk-13530-BR                        Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)
                                                                                                                                                Desc
                                                         Main Document     Page 33 of 41
                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                   (ii) disclosing an unretained expert's opinion or information that does
                                                                                      not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                  study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                         (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                            modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                        be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                   (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                              compensated.

  (2)For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                        procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                      information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                      documents must produce them as they are kept in the ordinary course of
                                                                                      business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      the demand.
attorney responsible for issuing and serving a subpoena must take                          (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person                Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is               electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                  a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a                 usable form or forms.
party or attorney who fails to comply.                                                     (C) Electronically Stored Information Produced in Only One Form. The
                                                                                      person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                      information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                      responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                      from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                      of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                      order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                      reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                      made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                      requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                      26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,             (2) Claiming Privilege or Protection.
the following rules apply:                                                                 (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party          information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an               trial-preparation material must:
order compelling production or inspection.                                                    (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                  (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from         or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                        privileged or protected, will enable the parties to assess the claim.
                                                                                            (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                               subpoena is subject to a claim of privilege or of protection as trial-
   (A) When Required. On timely motion, the court for the district where              preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                          received the information of the claim and the basis for it. After being
     (i) fails to allow a reasonable time to comply;                                  notified, a party must promptly return, sequester, or destroy the specified
     (ii) requires a person to comply beyond the geographical limits                  information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                              until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no        information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                       promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                         where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a                who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on             is resolved.
motion, quash or modify the subpoena if it requires:                                  …
      (i) disclosing a trade secret or other confidential research,                   (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                            also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                      a person who, having been served, fails without adequate excuse to obey
                                                                                      the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

                                                                                                                                         American LegalNet, Inc.
                                                                                                                                         www.FormsWorkFlow.com
DAL 2704141v1
                                                                                                                                                  030
Case 2:20-bk-13530-BR   Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37   Desc
                        Main Document     Page 34 of 41




                               EXHIBIT A


                                                                           031
Case 2:20-bk-13530-BR        Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                   Desc
                             Main Document     Page 35 of 41



           EXHIBIT “A” IN SUPPORT OF SUBPOENA TO COHEN WILLIAMS LLP

                                   Production of Documents

   Definitions:

   The following definitions apply herein:

   A.      The term “Case” shall mean that bankruptcy case styled In re Jadelle Jewelry and
   Diamonds, LLC, presently pending in the United States Bankruptcy Court, Central
   District of California, Los Angeles Division, bearing Case No. 2:20-bk-13530-BR,
   commenced on April 6, 2020.

   B.      The term “Claim” shall have the meaning ascribed to it in 11 U.S.C. § 101(5).

   C.      The term “Cohen Williams” shall mean Cohen Williams LLP.

   D.      The term “Creditor” shall have the meaning ascribed to it in 11 U.S.C. § 101(10).

   E       The term “Communications” shall mean any transmission of information from
   one person or entity to another by mail, facsimile, electronic mail, text message, instant
   messaging, audio recordings, journals, diaries, logs, or calendars, including (without
   limitation) any form of memorialization of personal meetings, conferences, telephone
   conversations, radio, electronic mail, teleconference, etc.

   F.      The term “Debt” shall have the meaning ascribed to it in 11 U.S.C. § 101(12).

   G.      The term “Involuntary Petition” shall mean that certain involuntary chapter 7
   petition styled In re Jadelle Jewelry and Diamonds, LLC, presently pending in the United
   States Bankruptcy Court, Central District of California, Los Angeles Division, bearing
   Case No. 2:20-bk-13530-BR.

   H.      The term “Jadelle” shall mean Jadelle Jewelry and Diamonds, LLC, and any of its
   respective officers, directors, employees, affiliates, parents, subsidiaries, representatives,
   agents, attorneys, and all other persons acting or purporting to act on its behalf, including
   Jona Rechnitz and Rachel Rechnitz.

   I.     The term “Jona” shall mean Jona Rechnitz, and his representatives, agents,
   attorneys, and all other persons acting or purporting to act on his behalf.

   J.      The term “Petition Date” shall mean April 6, 2020, the date the Involuntary
   Petition was filed.

   K.     The term “Rachel” shall mean Rachel Rechnitz, and her representatives, agents,
   attorneys, and all other persons acting or purporting to act on her behalf.




   DAL 2704142v1                                 1


                                                                                                    032
Case 2:20-bk-13530-BR       Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                   Desc
                            Main Document     Page 36 of 41



   L.     The terms “and” or “or” or “and/or” shall be construed either disjunctively or
   conjunctively or both, as necessary, to bring within the scope of any request for responses
   which might otherwise be construed to be outside the scope.

   M.      The term “Contact Information” shall mean information upon which a person or
   entity may be reached via mail, telephone, facsimile, e-mail or in person or any other
   medium that is reasonable, and shall include without limitation, present and last known
   address(es), phone number(s), facsimile number(s), and e- mail address(es).

   N.      The terms “Document” or “Documents” shall mean and includes any medium,
   including without limitation, writings, drawings, graphs, charts, photographs, audio and
   video recordings, computerized records, such as e-mails, microfilm, microfiche, data
   compilations, upon which intelligence or information can be recorded, maintained or
   retrieved, including without limitation, the original or a copy thereof, regardless of the
   origin and location, of any writing or recording of any type or description, however
   produced or reproduced, which is in your or your representatives’ possession, custody or
   control, or to which you have or had access, or of which you have knowledge or which
   you have a right or privilege to examine upon request or demand, and includes any and
   all writings and recordings as the term is used in Rule 1001(1) of the Federal Rules of
   Evidence and includes the original (or a copy if the original is not available) and any
   nonidentical copies (whether different from the original because of notes made on the
   copy or otherwise).

   O.      The terms “relate to”, “refer to”, “evidence”, “concern”, “pertain to” and
   “pertaining to” shall mean mentioning, discussing, including, summarizing, describing,
   reflecting, containing, referring to, relating to, depicting, connected with, embodying,
   evidencing, constituting, concerning, reporting, purporting or involving an act,
   occurrence, event, transaction, fact, thing, or course of dealing.

   P.    The term “you” or “your” shall mean and includes Cohen Williams. The term
   “Cohen Williams” shall be used interchangeably with the terms “you” or “your”.

   Q.      The singular form of a word should be interpreted as plural and the plural should
   be interpreted as singular to give the word or words the broadest possible meaning.

   R.     The masculine gender of any word shall be construed to include the masculine,
   feminine, and neuter gender.

   Requested Documents:

   1.     All Documents regarding any payments made to Cohen Williams by Jona
   Rechnitz on account of attorneys’ fees rendered to or expenses incurred on behalf of
   Jona, Rachel, and/or Jadelle, whether prior to or after the Petition Date.

   2.     All Documents regarding any payments made to Cohen Williams by Rachel
   Rechnitz on account of attorneys’ fees rendered to or expenses incurred on behalf of
   Jona, Rachel, and/or Jadelle, whether prior to or after the Petition Date.

   DAL 2704142v1                                2


                                                                                                 033
Case 2:20-bk-13530-BR       Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                  Desc
                            Main Document     Page 37 of 41



   3.     All Documents regarding any payments made to Cohen Williams by Jadelle on
   account of attorneys’ fees rendered to or expenses incurred on behalf of Jona, Rachel,
   and/or Jadelle, whether prior to or after the Petition Date.

   4.     All Documents regarding any payments made to Cohen Williams by any third
   party on account of attorneys’ fees rendered to or expenses incurred on behalf of Jona,
   Rachel, and/or Jadelle, whether prior to or after the Petition Date.

   5.     All Documents regarding any payments made to Cohen Williams by any third
   party on account of attorneys’ fees rendered to or expenses incurred on behalf of Robert
   Rechnitz or Shlomo Yehuda Rechnitz, whether prior to or after the Petition Date.

   6.      All Documents regarding any third party payor agreements on account of services
   rendered to or expenses incurred on behalf of Jona, Rachel, and/or Jadelle, whether prior
   to or after the Petition Date.

   7.     All Documents regarding any third party payor agreements on account of services
   rendered to or expenses incurred on behalf of Robert Rechnitz or Shlomo Yehuda
   Rechnitz, whether prior to or after the Petition Date.

   8.     All Documents regarding the identity of any third party payor on account of
   services rendered to or expenses incurred on behalf of Jona, Rachel, and/or Jadelle,
   whether prior to or after the Petition Date.

   9.     All Documents regarding the identity of any third party payor on account of
   services rendered to or expenses incurred on behalf of Robert Rechnitz or Shlomo
   Yehuda Rechnitz, whether prior to or after the Petition Date.

   10.    All Documents regarding the retention agreement by and between Cohen
   Williams and Jona, whether prior to or after the Petition Date.

   11.    All Documents regarding the retention agreement by and between Cohen
   Williams and Rachel, whether prior to or after the Petition Date.

   12.    All Documents regarding the retention agreement by and between Cohen
   Williams and Jadelle, whether prior to or after the Petition Date.

   13.    Any Communications between Cohen Williams and any third party payor on
   account of the payment of services rendered to or expenses incurred on behalf of Jona,
   Rachel, and/or Jadelle, whether prior to or after the Petition Date.

   14.    Any Communications between Cohen Williams and any third party payor on
   account of the payment for services rendered to or expenses incurred on behalf of Robert
   Rechnitz or Shlomo Yehuda Rechnitz, whether prior to or after the Petition Date.




   DAL 2704142v1                               3


                                                                                               034
Case 2:20-bk-13530-BR        Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                   Desc
                             Main Document     Page 38 of 41



                                    Topics of Examination

   1.     Any payments made to Cohen Williams by Jona Rechnitz on account of
   attorneys’ fees rendered to or expenses incurred on behalf of Jona, Rachel, and/or Jadelle,
   whether prior to or after the Petition Date.

   2.     Any payments made to Cohen Williams by Rachel Rechnitz on account of
   attorneys’ fees rendered to or expenses incurred on behalf of Jona, Rachel, and/or Jadelle,
   whether prior to or after the Petition Date.

   3.      Any payments made to Cohen Williams by Jadelle on account of attorneys’ fees
   rendered to or expenses incurred on behalf of Jona, Rachel, and/or Jadelle, whether prior
   to or after the Petition Date.

   4.     Any payments made to Cohen Williams by any third party on account of
   attorneys’ fees rendered to or expenses incurred on behalf of Jona, Rachel, and/or Jadelle,
   whether prior to or after the Petition Date.

   5.     Any payments made to Cohen Williams by any third party on account of
   attorneys’ fees rendered to or expenses incurred on behalf of Robert Rechnitz or Shlomo
   Yehuda Rechnitz, whether prior to or after the Petition Date.

   6.     Any third party payor agreements on account of services rendered to or expenses
   incurred on behalf of Jona, Rachel, and/or Jadelle, whether prior to or after the Petition
   Date.

   7.      Any third party payor agreements on account of services rendered to or expenses
   incurred on behalf of Robert Rechnitz or Shlomo Yehuda Rechnitz, whether prior to or
   after the Petition Date.

   8.      The identity of any third party payor on account of services rendered to or
   expenses incurred on behalf of Jona, Rachel, and/or Jadelle, whether prior to or after the
   Petition Date.

   9.      The identity of any third party payor on account of services rendered to or
   expenses incurred on behalf of Robert Rechnitz or Shlomo Yehuda Rechnitz, whether
   prior to or after the Petition Date.

   10.     Any retention agreement by and between Cohen Williams and Jona, whether prior
   to or after the Petition Date.

   11.     Any retention agreement by and between Cohen Williams and Rachel, whether
   prior to or after the Petition Date.

   12.     Any retention agreement by and between Cohen Williams and Jadelle, whether
   prior to or after the Petition Date.


   DAL 2704142v1                                4


                                                                                                 035
Case 2:20-bk-13530-BR       Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                Desc
                            Main Document     Page 39 of 41



   13.    Any communications between Cohen Williams and any third party payor on
   account of the payment of services rendered to or expenses incurred on behalf of Jona,
   Rachel, and/or Jadelle, whether prior to or after the Petition Date.

   14.    Any communications between Cohen Williams and any third party payor on
   account of the payment for services rendered to or expenses incurred on behalf of Robert
   Rechnitz or Shlomo Yehuda Rechnitz, whether prior to or after the Petition Date.




   DAL 2704142v1                               5


                                                                                              036
       Case 2:20-bk-13530-BR                      Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                                       Desc
                                                  Main Document     Page 40 of 41



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR ORDER
REQUIRING EXAMINATION AND PRODUCTION OF DOCUMENTS BY COHEN WILLIAMS LLP PURSUANT TO RULE
2004 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE; MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATION OF RONALD RICHARDS IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 July 23, 2020 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) July 23, 2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Marc Williams, Esq.                                                           The Honorable Barry Russell
Cohen Williams LLP                                                            U.S. Bankruptcy Court
724 South Spring Street, Ninth Floor                                          Roybal Federal Building
Los Angeles, CA 90014                                                         255 E. Temple Street, Suite 1660
                                                                              Los Angeles, CA 90012


                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                          Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 July 23, 2020                             Cheryl Caldwell                                       /s/Cheryl Caldwell
 Date                                      Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
       Case 2:20-bk-13530-BR                      Doc 119 Filed 07/23/20 Entered 07/23/20 12:41:37                                       Desc
                                                  Main Document     Page 41 of 41


                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Carolyn A Dye trustee@cadye.com
Sam S Leslie (TR) sleslie@trusteeleslie.com, SLESLIE@ECF.AXOSFS.COM;trustee@trusteeleslie.com
Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
Robert S Marticello Rmarticello@swelawfirm.com,
gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
Neal Salisian ECF@salisianlee.com
Michael Simon msimon@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
Derrick Talerico dtalerico@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
